                       Case
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                  1    STIP
                       ADAM L. GILL, ESQ.
                  2    Nevada State Bar No. 11575
                       723 South 3rd Street
                  3    Las Vegas, NV 89101
                       P: (702) 750-1590
                  4    F: (702) 548-6884
                       Attorney for Defendant
                  5    Francisco Mares

                  6                                UNITED STATES DISTRICT COURT
                  7                                        DISTRICT OF NEVADA
                  8    UNITED STATES OF AMERICA,
                  9                  Plaintiff,                            Case No: 2:20-CR-00018-JCM-EJY
              10       vs.
                                                                           STIPULATION TO CONTINUE
              11       RENATO CONSUEGRA-CLEMENTE,                          CALENDAR CALL AND TRIAL DATE
                       Aka “Tito,” and FRANCISCO JAIVER
              12
                       MARES, Aka “Pancho,”,
              13                     Defendants.
              14

              15              IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A. Trutanich,

              16       United States Attorney, and Allison Reese, Assistant United States Attorney, counsel for the

              17       United States of America, Adam Gill, Esq. of Aisen, Gill & Associates, counsel for Defendant
              18
                       FRANCISCO MARES, and Rene L. Valladares, Federal Public Defender, and Paul D. Riddle,
              19
                       Assistant Federal Public Defender, counsel for Defendant RENATO CONSUEGRA-
              20
                       CLEMENTE, that the trial currently set for January 4, 2021 at 9:00 a.m., be vacated and
              21
                       continued to a date and time convenient to the Court, but no sooner than ninety (90) days.
              22

              23              This stipulation is entered for the following reasons:

              24         1. Per the Third Amended General Order 2020-03 filed, no trials are being held in the United
              25             States District Court for the District of Nevada at this time.
              26
                         2. In addition, counsel for the defendants need additional time to review discovery and
              27
                             otherwise prepare for trial in this matter.
              28
 AISEN, GILL, &
ASSOCIATES, LLP
                       Case
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                         3. Mr. Mares is not in custody and he agrees with this continuance.
                  1

                  2      4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.

                  3      5. The parties agree to the continuance.

                  4      6. The additional time requested herein is not sought for purposes of delay, but to allow
                  5
                            counsel for defendants sufficient time within which to be able to effectively and
                  6
                            completely investigate the discovery materials provided.
                  7
                         7. Additionally, denial of this request for continuance could result in a miscarriage of justice.
                  8
                            The additional time requests by this Stipulation is excludable in putting the time within
                  9

              10            which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United

              11            States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
              12            Code, Section 3161(h)(7)(B)(i), (iv).
              13
                         8. This is the third request to continue trial dates filed herein.
              14
                             DATED this 1st day of December, 2020.
              15
                  /s/ Adam L. Gill
              16 Adam L. Gill, Esq.

              17 Counsel for Defendant
                 Francisco Mares
              18
                  /s/ Allison Reese
              19 Allison Reese, Esq.
                 Attorney for the United States
              20 Assistant United States Attorney

              21
                 /s/ Paul D. Riddle
              22 Assistant Federal Public Defender
                 Counsel for Defendant
              23 Renato Consuegra-Clemente

              24

              25

              26

              27

              28
 AISEN, GILL, &
ASSOCIATES, LLP
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                       FOF
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                  6    Attorneys for Defendant
                       Francisco Mares
                  7
                                                   UNITED STATES DISTRICT COURT
                  8
                                                           DISTRICT OF NEVADA
                  9
                       UNITED STATES OF AMERICA,
              10
                                    Plaintiff,
                                                                           Case No: 2:20-CR-00018-JCM-EJY
              11
                       vs.
              12
                       RENATO CONSUEGRA-CLEMENTE,                          ORDER
              13       Aka “Tito,” and FRANCISCO JAIVER
                       MARES, Aka “Pancho,”,
              14
                                    Defendants.
              15

              16                                             FINDINGS OF FACT
              17                 Based on the stipulation of Counsel, and good cause appearing, the Court finds that:
              18
                         1. Per the Third Amended General Order 2020-03 filed, no trials are being held in the United
              19
                             States District Court for the District of Nevada at this time.
              20
                         2. In addition, counsel for the defendants need additional time to review discovery and
              21

              22             otherwise prepare for trial in this matter.

              23         3. Mr. Mares is not in custody and he agrees with this continuance.

              24         4. Mr. Consuegra-Clemente is incarcerated and does not object to the continuance.
              25
                         5. The parties agree to the continuance.
              26
                         6. The additional time requested herein is not sought for purposes of delay, but to allow
              27
                             counsel for defendants sufficient time within which to be able to effectively and
              28
 AISEN, GILL, &
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                       Case
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                             completely investigate the discovery materials provided.
                  1

                  2      7. Additionally, denial of this request for continuance could result in a miscarriage of justice.

                  3          The additional time requests by this Stipulation is excludable in putting the time within

                  4          which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
                  5
                             States Code, Section 3161(h)(7)A), considering the factors under Title 18, United States
                  6
                             Code, Section 3161(h)(7)(B)(i), (iv).
                  7
                                                         CONCLUSIONS OF LAW
                  8
                             The ends of justice served by granting said continuance outweigh the best interest of the
                  9

              10 public and the defendants in a speedy trial, since the failure to grant said continuance would be

              11 likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the

              12 opportunity within which to be able to effectively and thoroughly prepare for trial, taking into

              13
                      account the exercise of due diligence.
              14
                             The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
              15
                      States Code, Section 3161(h)(7)(A), when considering the facts under Title 18, United States
              16

              17 Code, Sections 3161(h)(7)(B) and 3161(h)(7)(B)(i), (iv).

              18                                                     ORDER

              19             IT IS THEREFORE ORDERED that the calendar call currently scheduled for December

                                                                                  June 16, 2021
              20 30, 2020, at the hour of 1:30 p.m., be vacated and continued to _________________ at the hour of
              21
                      1:30 p.m., and the trial currently scheduled for January 4, 2021, at the hour of 9:00 a.m., be
              22
                                                 June 21, 2021
                      vacated and continued to __________________ at the hour of 9:00 a.m.
              23
                         Dated December   2, 2020.
                               this _______day of _________, 2020.
              24

              25

              26                                                              UNITED STATES DISTRICT JUDGE
              27

              28
 AISEN, GILL, &
ASSOCIATES, LLP
